
671 S.E.2d 532 (2008)
Nancy A. VILLEPIGUE, Executrix of the Estate of James R. Villepigue
v.
CITY OF DANVILLE, VIRGINIA; Travis Giles and William Chaney.
No. 278P08.
Supreme Court of North Carolina.
December 11, 2008.
David E. Blum, F. Hill Allen, Raleigh, for Villepigue.
Dan M. Hartzog, Kari R. Johnson, Raleigh, for City of Danville, Va., et al.
Prior report: ___ N.C.App. ___, 661 S.E.2d 12.

ORDER
Upon consideration of the petition filed on the 10th day of June 2008 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of December 2008."
